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Telephone                                                                              CLERK, u.s. UiSTRICT COURT
                                                                                           ANCHORAGE, A.K.

                                IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF ALASKA


                 ~'~ 6hr;, ()I e_
                ull name of plaintiff in this action)
                                                                 Case No.     72 ·_ \1-C      0 - CC\ Ol: ·110/(1::,
                                         Plaintiff,                                (To be supplied by Court)
vs.

      Gr!J                                                              COMPLAINT UNDER
                                                                       THE CIVIL RIGHTS ACT
                                                                          42 u.s.c. § 1983

                                                                            (NON-PRISONERS)
      (Enter full names of defendant(s) in this action.
                     Do NOT use et al.)

                                         Defendant( s).

A. Jurisdiction

Jurisdiction is invoked under 28 U.S.C. § 1343(a)(3) and 42 U.S.C. § 1983. If you
assert jurisdiction under any different or additional authorities, please list them below:



B. Parties

1. Plaintiff: This complaint alleges that the civil rights of           c I8 c1hn Cl1ti, ve:
                                                                               7(print your name)

who presently resides at                   1)Lj r; ~          L / Cl) (/ l.    /)rJ 1 c hc Y <-fj i
                                                                                                  7
                                                                                                         If/: ·c? fli/ldr
                                                               (mailing address)
                                                                                                               Cf1'J01L
were violated by the actions of the individual(s) named below.




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2. Defendants (Make a copy of this page and provide same information if you are naming more than 3
defendants):



  tit
Defendant No. 1,       l 1 /('            (n~me) .
                                                                                            is a citizen of
                                                                                          111-
                    , and is employed as a l Ltt tf /L      r I 11 ..f-1<.. i;,t;rn...,
                                                                         .
                                                                                          Tl    /l   tf L<. ~ .
         (state)                                      (defendant's governmefu position/title) ./


Vi. <J   This defendant personally participated in causing my injury, and I want money
~ges.
OR
V{)The policy or custom of this official's government agency violates my rights, and I
Teekinjunctive relief (to stop or require someone do something).                    S
                                                                   P<jl ·i o/ l/7'/ rt ·t                            bx//}/
                         (, T II                                                                      jt;.. ~4/fl.
Defendant No. 2,            Y·l1                                                           is a citizen of
                                             (name)
_ _ _ _ _ _ ,and is employed as a. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          (state)                                     (defendant's government position/title)


_ _This defendant personally participated in causing my injury, and I want money
damages.
OR
__The policy or custom of this official's government agency violates my rights, and I
seek injunctive relief (to stop or require someone do something).

Defendant No. 3,                                                                           is a citizen of
                                             (name)
_ _ _ _ _ _ ,and is employed as a_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
         (state)                                      (defendant's government position/title)


_ _This defendant personally participated in causing my injury, and I want money
damages.
OR
__The policy or custom of this official's government agency violates my rights, and I
seek injunctive relief (to stop or require someone do something).


C. Causes of Action (You may attach additional pages alleging other causes of action and facts
supporting them if necessary. Make copies of page 5 and rename them pages 5A, 58, etc. and rename
the claims, "Claim 4,'' "Claim 5, etc.").




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Dec. 2013
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                                                                             '] /JjJOI ?-
Claim 1: On or about              ~UJS: l'-qo ~               (Dataj
                                                                                               , my   civil right to


  (due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
       .              (   !=llf11sual punishment, etc. List only one violation.)
was violated by __,._../"-""'Jc_:;.__·L..11~,- - - - - - - - - - - - - - - - - - - - - -
                                      (Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 1. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 1.):




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Claim 2: On or about                                                                       , my civil right to
                                                        (Date)

  (due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
                                 unusual punishment, etc. List only one violation.)
was violated by _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                     (Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 2. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 2.):




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Claim 3: On or about                                                                       , my civil right to
                                                        (Date)

  (due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
                                 unusual punishment, etc. List only one violation.)

was violated by _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                     (Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 3. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 3.):




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D. Previous Lawsuits

1. Have you begun other lawsuits in state or federal court dealing with the s;rne facts
involved in this action, or otherwise relating to your imprisonment? _ _ Yes __Li_ No

2. If your answer is "Yes," describe each lawsuit.

a. Lawsuit 1:

Plaintiff(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Defendant(s):, _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Name and location of court:
                              ----------------------
Docket number: - - - - - - Name of judge: _ _ _ _ _ _ _ _ _ _ _ _ __

Approximate date case was filed:                     Date of final decision: _ _ _ _ __

Disposition:     - - - Dismissed        ___ Appealed             ___ Still pending

Issues Raised:
                 ----------------------------
b. Lawsuit 2:

Plaintiff(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Defendant(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Name and location of court:
                              ----------------------
Docket number:- - - - - Name of judge: _ _ _ _ _ _ _ _ _ _ _ _ __

Approximate date case was filed:                     Date of final decision: _ _ _ _ __

Disposition:     - - - Dismissed        ___ Appealed             ___ Still pending

Issues Raised:
                 ----------------------------

F. Request for Relief

Plaintiff requests that this Court grant the following relief:

1. Damages in the amount of $_ _ _ _ _ _ __

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2. Punitive damages in the amount of$ _ _ _ _ _ _ _ __

3. An order requiring defendant(s) to _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

4. A declaration that
                      -----------------------
5. Other:
            -------------------------~



Plaintiff demands a trial by jury.             Yes        No



               DECLARATION UNDER PENALTY OF PERJURY

The undersigned declares under penalty of perjury thats/he is the plaintiff
in the above action, thats/he has read the above civil rights complaint and
     that the information contained in the complaint is true and·correct.


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                              (Location)                         /       (Dlte)

                             ~



     Original Signature of Attorney (if any)                    (Date)




Attorney's Address and Telephone Number




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